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                               UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                        WESTERN DIVISION


  MATT NASUTI,                                                        5:20-CV-5023-LLP


                         Plaintiff,
         vs.                                                                ORDER


  WALMART,INC.,

                         Defendant.


         On November 23, 2021, this Court entered Judgment in favor of Defendant Walmart, Inc.
 ("Walmart") and against Plaintiff Matt Nasuti ("Nasuti"). (Doc. 120.) Walmart filed a Bill of
 Costs on December 3, 2021. (Doc. 122.) Then, on December 13, 2021, Walmart filed a
 "Withdrawal of Bill of Costs." (Doc. 123.) Walmart notified the Court that it was withdrawing
 its bill of costs and waiving its right to such costs "based solely upon Plaintiffs agreement not to
 seek an appeal ofthe judgment entered on November 23, 2021." (Doc. 123.)

         The November 23,2021 Judgment was never appealed. The Supreme Court has determined
 that the timely filing of a notice of appeal in a civil case is a jurisdictional requirement. Bowles v.
 Russell, 551 U.S. 205, 214 (2007). Federal Rule of Appellate Procedure 4(a)(1)(A) states that a
 notice of appeal in a civil case "must be filed with the district clerk within 30 days after entry of
 the judgment or order appealed from." The time limit in Appellate Rule 4(a) is based on the
 statutory time limit for filing a notice of appeal found in 28 U.S.C. § 2107. See Bowles, 551 U.S.
 at 208. If he desired to appeal, Nasuti needed to file a notiee of appeal within the applicable 30-
 day time period following entry ofthe November 23,2021 Judgment in favor of Walmart. In other
 words, Nasuti had to file a notice of appeal on or before December 23, 2021.

        In light of Walmarfs withdrawal of its Bill of Costs based on Nasuti's agreement not to
 seek an appeal, and because the time for Nasuti to appeal has passed.

        IT IS ORDERED that no further proceedings are necessary, and this case is closed.
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      Dated this 25th day of January, 2022.

                                          BY THE COURT:



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                                              iwrence L. Piersol
ATTEST;                                   United States District Judge
MATTHEW W.THELEN, Clerk
